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 5

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 8
                                    IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:18-CR-00092-NONE-SKO
12                                  Plaintiff,             STIPULATION ORDER FOR RELEASE
13                           v.
14   NILSON REYES MENDOZA,
15                                  Defendant.
16

17
                                                   STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant NILSON
19
     REYES MENDOZA (“defendant”), by and through defendant’s counsel of record, Virna L. Santos,
20
     hereby stipulate as follows:
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            1.      On December 17, 2019, defendant was arrested pursuant to an arrest warrant issued in the
22
     above-referenced case. Doc. 37. On December 21, 2019, defendant was temporarily detained by a
23
     magistrate judge in the Southern District of California and transferred to this district.
24
            2.      On January 17, 2019, defendant made his initial appearance on the indictment filed in the
25
     above-referenced case, which alleged that defendant and co-defendants committed assault with a
26
     dangerous weapon in aid of racketeering in violation of 18 U.S.C. § 1959(a)(3), among other violations.
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     Doc. 11.
28
            3.      On January 17, 2019, Judge Erica P. Grosjean informed defense counsel that the SDCA

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 1 had already issued a detention order. Based on said representation, defense counsel submitted on the

 2 issue of detention. defendant was ordered detained. Doc. 47. Defendant has been detained at the

 3 Fresno County Jail in Fresno, California, since that time. The Fresno County Jail is operated by the

 4 Fresno County Sheriff’s Office.

 5          4.      On March 6, 2019, the Honorable Lawrence J. O’Neill, United States District Judge,

 6 issued a Scheduling Order, in which a trial was scheduled for June 2, 2020, at 8:30 a.m. Doc. 52.

 7          5.      On April 17, 2020, defendant filed a Motion for Bail Review. Doc. 84.

 8          6.      On April 17, 2020, this Court issued General Order 617, which suspends all jury trials in

 9 the Eastern District of California scheduled to commence before June 15, 2020. This General Order was
10 entered to address public health concerns related to COVID-19.

11          7.      Regarding defendant’s history and characteristics, defendant is 22 years old, and he

12 committed the instant offense to which he pleaded guilty when he was 19. Defendant has no criminal

13 history.

14          8.      While the parties have not agreed on any particular sentencing guideline calculation, they

15 agree that the following is within the range of likely guideline calculations. The applicable sentencing

16 guideline for the offenses charged in the Indictment is a base level of 14 under U.S.S.G. § 2A2.2. The

17 guideline range for defendant with a criminal history category I is 15-21 months imprisonment. If the

18 Government seeks and the Court finds applicable a 3 point enhancement under U.S.S.G. §

19 2A2.2(b)(2)(C), the resulting guideline range is 24-30 months imprisonment (if there is no reduction for

20 acceptance of responsibility).
21          9.      As of the date of filing, defendant has been incarcerated for 17 months. Pursuant to

22 General Order 617, trial of this matter will be continued.

23          10.     The government has considered the following factors in entering into this stipulation: (1)

24 defendant has no criminal history, (2) defendant is not alleged to have personally confronted anyone

25 with a weapon, and (3) delay of trial may result in defendant serving more than his guideline range if

26 convicted. These factors weighed heavily in the government’s decision to stipulate here.
27          11.     Consequently, the government believes that there are a combination of conditions that

28 will assure defendant’s appearance at future court proceedings and protect the public from any danger

      STIPULATION                                        2
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 1 defendant may pose.

 2         12.      Accordingly, the parties hereby stipulate to and respectfully request the Court to order

 3 defendant’s release on the following conditions (which were recommended by Pretrial Services

 4 previously):

 5                  a)     You must report in person to the Pretrial Services Agency on the first working

 6         day following your release from custody;

 7                  b)     You are released to the third-party custody of Daysi Reyes-Rivera;

 8                  c)     You must reside at a location approved by the pretrial services officer and not

 9         move or absent yourself from this residence for more than 24 hours without the prior approval of

10         the pretrial services officer;

11                  d)     You must restrict your travel to ED/CA and CD/CA unless otherwise approved in

12         advance by the pretrial services officer;

13                  e)     You must not apply for or obtain a passport or any other travel documents during

14         the pendency of this case;

15                  f)     You must not possess, have in your residence, or have access to a

16         firearm/ammunition, destructive device, or other dangerous weapon; additionally, you must

17         provide written proof of divestment of all firearms/ammunition currently under your control;

18                  g)     You must seek and/or maintain employment and provide proof of same as

19         requested by your pretrial services officer;

20                  h)     You must refrain from excessive use of alcohol or any use of a narcotic drug or

21         other controlled substance without a prescription by a licensed medical practitioner; and you

22         must notify Pretrial Services immediately of any prescribed medication(s). However, medicinal

23         marijuana prescribed and/or recommended may not be used;

24                  i)     You must participate in a program of medical or psychiatric treatment, including

25         treatment for depression, as approved by the pretrial services officer. You must pay all or part of

26         the costs of the counseling services based upon your ability to pay, as determined by the pretrial

27         services officer;

28                  j)     You must not associate or have any contact with Co-Defendants or known gang

      STIPULATION                                         3
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 1          members unless in the presence of counsel or otherwise approved in advance by the pretrial

 2          services officer;

 3                  k)     You must report any contact with law enforcement to your pretrial services officer

 4          within 24 hours; and,

 5                  l)     Following your release from custody, you must complete a 14-day quarantine

 6          period at your family residence. During the 14-day quarantine period, you must remain inside

 7          your residence at all times, except for medical needs pre-approved by the PSO. You must

 8          comply with any and all telephonic and virtual (video) reporting instructions given to you by the

 9          PSO.

10                  m)     Upon completion of the 14-day quarantine period, you must remain inside your

11          residence every day from 9:00pm to 6:00am, or as adjusted by the pretrial services officer for

12          medical, religious services, employment or court-ordered obligations. You must comply with any

13          and all telephonic and virtual (video) reporting instructions given to you the PSO.

14                  n)     Once COVID-19 concerns have lessened, you must participate in the following

15          location monitoring program component and abide by all the requirements of the program, which

16          will include having a location monitoring unit installed in your residence and a radio frequency

17          transmitter device attached to your person. You must comply with all instructions for the use and

18          operation of said devices as given to you by the Pretrial Services Agency and employees of the

19          monitoring company. You must pay all or part of the costs of the program based upon your

20          ability to pay, as determined by the pretrial services officer; CURFEW: You must remain inside

21          your residence every day from 9:00pm to 6:00am, or as adjusted by the pretrial services officer

22          for medical, religious services, employment or court-ordered obligations.

23          13.     The parties also stipulate and respectfully request that if the Court orders defendant’s

24 release, the Court also impose the United States Pretrial Services Office’s standard release conditions,

25 any additional conditions the Pretrial Services Office recommends, along with the following condition:

26                                       [Remainder of page intentionally left blank.]

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      STIPULATION                                         4
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 1                  a)   Defendant shall not contact either in person, telephonically, via email, social

 2 media, or by any other means M.M, J.M or S.C.

 3         IT IS SO STIPULATED.

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 5
     Dated: April 21, 2020                                 McGREGOR W. SCOTT
 6                                                         United States Attorney
 7
                                                           /s/ KIMBERLY SANCHEZ
 8                                                         KIMBERLY SANCHEZ
                                                           Assistant United States Attorney
 9
10

11   Dated: April 21, 2020                                   /s/ VIRNA SANTOS
12                                                     VIRNA L. SANTOS
                                                       Counsel for Defendant
13                                                     NILSON REYES MENDOZA
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      STIPULATION                                      5
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 1                                         FINDINGS AND ORDER

 2         Pursuant to the parties’ stipulation and for good cause shown, IT IS HEREBY ORDERED that

 3 defendant NILSON REYES MENDOZA be released from the Fresno County Jail on April 23, 2020 by

 4 8:00. a.m. on the following conditions which have been approved by the Pretrial Services Officer:

 5                  a)   Defendant shall not contact either in person, telephonically, via email, social

 6                       media, or by any other means M. M., J. M. and/or S.C.;

 7                  b)    You must report in person to the Pretrial Services Agency on the first working

 8         day following your release from custody;

 9                  c)    You are released to the third-party custody of Daysi Reyes-Rivera;

10                  d)    You must reside at a location approved by the pretrial services officer and not

11         move or

12                  e)    absent yourself from this residence for more than 24 hours without the prior

13         approval of the pretrial services officer;

14                  f)    You must restrict your travel to ED/CA and CD/CA unless otherwise approved in

15         advance by the pretrial services officer;

16                  g)    You must not apply for or obtain a passport or any other travel documents during

17         the pendency of this case;

18                  h)    You must not possess, have in your residence, or have access to a

19         firearm/ammunition, destructive device, or other dangerous weapon; additionally, you must

20         provide written proof of divestment of all firearms/ammunition currently under your control;

21                  i)    You must seek and/or maintain employment and provide proof of same as

22         requested by your pretrial services officer;

23                  j)    You must refrain from excessive use of alcohol or any use of a narcotic drug or

24         other controlled substance without a prescription by a licensed medical practitioner; and you

25         must notify Pretrial Services immediately of any prescribed medication(s). However, medicinal

26         marijuana prescribed and/or recommended may not be used;

27                  k)    You must participate in a program of medical or psychiatric treatment, including

28         treatment for depression, as approved by the pretrial services officer. You must pay all or part of

      STIPULATION                                         6
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 1          the costs of the counseling services based upon your ability to pay, as determined by the pretrial

 2          services officer;

 3                  l)     You must not associate or have any contact with Co-Defendants or known gang

 4          members unless in the presence of counsel or otherwise approved in advance by the pretrial

 5          services officer;

 6                  m)     You must report any contact with law enforcement to your pretrial services officer

 7          within 24 hours;

 8                  n)     Following your release from custody, you must complete a 14-day quarantine

 9          period at your family residence. During the 14-day quarantine period, you must remain inside

10          your residence at all times, except for medical needs pre-approved by the PSO. You must

11          comply with any and all telephonic and virtual (video) reporting instructions given to you by the

12          PSO;

13                  o)     Upon completion of the 14-day quarantine period, you must remain inside your

14          residence every day from 9:00pm to 6:00am, or as adjusted by the pretrial services officer for

15          medical, religious services, employment or court-ordered obligations. You must comply with any

16          and all telephonic and virtual (video) reporting instructions given to you the PSO; and

17                  p)     Once COVID-19 concerns have lessened, you must participate in the following

18          location monitoring program component and abide by all the requirements of the program, which

19          will include having a location monitoring unit installed in your residence and a radio frequency

20          transmitter device attached to your person. You must comply with all instructions for the use and

21          operation of said devices as given to you by the Pretrial Services Agency and employees of the

22          monitoring company. You must pay all or part of the costs of the program based upon your

23          ability to pay, as determined by the pretrial services officer; CURFEW: You must remain inside

24          your residence every day from 9:00pm to 6:00am, or as adjusted by the pretrial services officer

25          for medical, religious services, employment or court-ordered obligations.

26
     IT IS SO ORDERED.
27

28 Dated:     April 21, 2020                                     /s/   Sheila K. Oberto               .
                                                       UNITED STATES MAGISTRATE JUDGE
      STIPULATION                                       7
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     STIPULATION                            8
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